838 F.2d 466Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Joseph HENDERSON, Petitioner-Appellant,v.Kenneth D. McKELLAR, Warden, KCI;  William D. Leeke,Commissioner, SCDC T. Travis Medlock, AttorneyGeneral for the State of South Carolina,Respondents- Appellees.
    No. 87-6650.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Dec. 7, 1987.Decided:  Jan. 22, 1988.
    
      Joseph Henderson, pro se.
      Donald John Zelenka, Chief Deputy Attorney General, for appellees.
      Before K.K. HALL and JAMES DICKSON PHILLIPS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion accepting the magistrate's recommendation discloses that an appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254 would be without merit.  Because the dispositive issues recently have been decided authoritatively, we deny a certificate of probable cause to appeal, dispense with oral argument, and dismiss the appeal on the reasoning of the district court.  Henderson v. McKellar, C/A No. 3:86-2390 (D.S.C.  Sept. 21, 1987).
    
    
      2
      DISMISSED.
    
    